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                              United States District Court
                                      EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION


    ACS MANUFACTURING, INC.                         §
                                                    §
    v.                                              § Civil Action No. 4:22cv687
                                                    § Judge Mazzant
    ROLLS-ROYCE SOLUTIONS                           §
    AMERICA INC.                                    §

                                ORDER ON CLOSING DOCUMENTS

           The Court has been notified by the mediator that all claims in the above-styled civil action

    have been settled.

           Therefore, it is ORDERED that, on or before September 8, 2023, all parties shall file with

    the Court all papers necessary for the closing of this case and its removal from the active docket

    of this Court. If such papers are not received by the Court by the scheduled deadline, the Court

.   may order counsel to appear at a hearing for the purpose of determining which party is responsible

    for the delay. Thereafter, the Court may enter such orders as are just and necessary to ensure

    prompt resolution of this case.

           IT IS SO ORDERED.
           SIGNED this 25th day of July, 2023.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
